         Case 1:18-bk-13319                   Doc 34 Filed 12/30/18 Entered 12/31/18 00:18:01                       Desc
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Information to identify the case:
Debtor 1              Charlene Marie Davis                                        Social Security number or ITIN   xxx−xx−3283
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Southern District of Ohio

Case number: 1:18−bk−13319



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Charlene Marie Davis

                                                                          By the court: Beth A. Buchanan
           12/28/18                                                                     United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 18-13319-bab
Charlene Marie Davis                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-1                  User: williamt                     Page 1 of 1                          Date Rcvd: Dec 28, 2018
                                      Form ID: 318                       Total Noticed: 23


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 30, 2018.
db             +Charlene Marie Davis,    2454 Mustang Drive,    Cincinnati, OH 45211-3713
op             +Antionette Jones,    1014 E McMillan Street,    Cincinnati, OH 45206-2074
19471798       +ALL STATE INSURANCE,    8950 COLERAIN AVENUE,    CINCINNATI, OH 45251-2922
19471783       +BEST BUY,    P. O. BOX 6497,    SIOUX FALLS, SD 57117-6497
19471787        CSS,    PAYMENT PROCESSING CENTER,    P. O. BOX 55126,    BOSTON, MA 02205-5126
19471789        GEICO SECURE INSURANCE COMPANY,     ONE GEICO PLAZA,    BETHESDA, MD 20811-0001
19471790        HONDA FINANCIAL SERVICE (AMERICAN),     P. O. BOX 5308,    ELGIN, IL 60121-5308
19471791        JUSTICE CAPITAL ONE RETAIL SERVICES,     P. O. BOX 4144,    CAROL STREAM, IL 60197-4144
19471793       +MARINER FINANCE,    8211TOWN CENTER DRIVE,    NOTTINGHAM, MD 21236-5904
19471794        PINK COMENITY BANK,    P. O. BOX 659728,    SAN ANTONIO, TX 78265-9728
19471795       +REGENCY FINANCE COMPANY,     9620 COLERAIN AVE,   CINCINNATI, OH 45251-2018
19471799       +SAFE AUTO INSURANCE CO.,     4 EASTON OVAL,   COLUMBUS, OH 43219-6010
19471796       +SPRINT,    P. O. BOX 629023,    EL DORADO HILLS, CA 95762-9023

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr              EDI: HNDA.COM Dec 29 2018 00:18:00      American Honda Finance Corporation,
                 National Bankruptcy Center,   P.O. Box 168088,    Irving, TX 750168088
cr             +EDI: RMSC.COM Dec 29 2018 00:18:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
19471782        EDI: WFNNB.COM Dec 29 2018 00:18:00      BUCKLE COMENITY BANK,    P. O. BOX 659704,
                 SAN ANTONIO, TX 78265-9704
19471784        EDI: CAPITALONE.COM Dec 29 2018 00:18:00      CAPITAL ONE,    P. O. BOX 6492,
                 CAROL STREAM, IL 60197-6492
19471785       +Fax: 614-760-4092 Dec 28 2018 19:56:33      CHECK SMART,    9234 COLERAIN AVE,
                 CINCINNATI, OH 45251-2406
19471786       +E-mail/Text: BANKRUPTCY@CINBELL.COM Dec 28 2018 19:29:36       CINCINNATI BELL,
                 P. O. BOX 748003,   CINCINNATI, OH 45274-8003
19471788        E-mail/Text: lynn.colombo@duke-energy.com Dec 28 2018 19:30:42       DUKE ENERGY,
                 P. O. BOX 1326,   CHARLOTTE, NC 28201-1326
19471792        EDI: TSYS2.COM Dec 29 2018 00:18:00      MACY’S DNSB,    P. O. BOX 8058,   MASON, OH 45040-8058
19472098       +EDI: PRA.COM Dec 29 2018 00:18:00      PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
19471797        EDI: RMSC.COM Dec 29 2018 00:18:00      WALMART SYNCHRONY BANK,    P. O. BOX 530927,
                 ATLANTA, GA 30353-0927
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 30, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 28, 2018 at the address(es) listed below:
              Asst US Trustee (Cin)   ustpregion09.ci.ecf@usdoj.gov
              E. Hanlin Bavely   trusteebavely@zoomtown.com, ehb@trustesolutions.net
                                                                                            TOTAL: 2
